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                           United States District Court
                                     for the
                           Southern District of Florida

  Richard Ralph Malcolm, Plaintiff,     )
                                        )
  v.                                    )
                                        ) Civil Action No. 20-24250-Civ-Scola
  Verizon Wireless, Defendant.          )
                                        )

                             Order Dismissing Case
        This matter is before the Court on an independent review of the record.
 Plaintiff Richard Ralph Malcolm, proceeding pro se, commenced this action on
 October 16, 2020, pursuant to 42 U.S.C. § 1983, alleging that unnamed
 employees of Defendant Verizon Wireless “denied [him] service in violation of
 the U.S. Constitution.” (ECF No. 1 at 1.)
        This case stems from the Plaintiff’s June 13, 2020 visit to a Verizon store
 in Miami, Florida, during which he claims that he was “denied service by
 Latin/White employees.” (Id.) He states that the Defendant discriminated
 against him on the basis of “age, race, sex, national origin, skin color, [and]
 ethnicity.” (Id.) Other than describing certain employees as “Latin/White,” the
 Plaintiff provides no other details regarding his visit to a Verizon store on June
 13th. The Plaintiff goes on to state that he “waited 30 days” and “did not
 receive a credit denial letter” from Verizon and that “[t]he fraud department
 notified [him] that there was no fraud alert on the account,” and, finally, that
 he “should have had a phone on” October 15, 2020. (Id.) The remainder of the
 seven-page complaint appears to be an excerpt from the “Encyclopaedia
 Britannica,” which asks questions such as “What are civil rights?” and covers
 topics including “Constitutional differences with Britain” compared to the
 United States. (Id. at 1-7.) The complaint concludes: “Sign up here to see what
 happened On This Day, every day in your inbox! . . . . By signing up, you agree
 to our Privacy Notice.”
        The complaint provides no explanation for how any of the
 aforementioned conduct was unconstitutional. To state a claim under § 1983,
 the plaintiff must illustrate "that the conduct complained of (1) was committed
 by a person acting under color of state law and (2) deprived the complainant of
 rights, privileges, or immunities secured by the Constitution or laws of the
 United States." Allaben v. Howanitz, No. 14-11227, 3 (11th Cir. Aug. 26, 2014).
 However, “[p]rivate parties,” such as Defendant Verizon Wireless, “are generally
 not considered state actors for § 1983 purposes.” Id.
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        Even absent that jurisdictional shortcoming, the Court would dismiss
 this frivolous action. “[D]istrict courts have the inherent power to sua sponte
 dismiss frivolous suits without giving notice to the parties.” Davis v. Kvalheim,
 261 F. App’x 231, 234-35 (11th Cir. 2008). Here, the complaint is “clearly
 baseless and without arguable merit in fact.” Id. It provides no details setting
 forth a plausible claim for relief and instead is mostly an excerpt from what
 appears to be a generic e -mail from an encyclopedia publisher. As a result, this
 case is dismissed under both the Court’s inherent authority and 28 U.S.C. §
 1915(e)(2)(B)(i). Id.
        The Clerk is instructed to close this case and mail a copy of this order
 to the Plaintiff at the address listed below. All pending motions, if any, are
 denied as moot.
        Done and ordered, in chambers, at Miami, Florida on October 19, 2020.


                                            ________________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge


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